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                                                                            No. 19-mj-4532-DHH

                     AFFIDAVIT OF SPECIAL AGENT KARA D. SPICE
                                                                           ALLOWED David H. Hennessy U.S.M.J.
        I, Kara D. Spice, being duly sworn, depose and state as follows:
                                                                           Dec 19, 2019
                                       INTRODUCTION

        1.       I am a Special Agent of the Federal Bureau of Investigation and have been so

employed for 15 years.



                                                       Further, I have worked as a hazardous

materials/Weapons of Mass Destruction (WMD) forensic evidence specialist for the FBI since

2006.




                                                  During the last 15 years, I have also participated

in numerous interviews of witnesses and targets and participated in the execution of numerous

search warrants.

        2.       Along with other agents, I am currently investigating Zaosong ZHENG, a 29-year

old Chinese citizen, (hereinafter “ZHENG”), and I am submitting this affidavit in support of an

application for a criminal complaint charging ZHENG with making false, fictitious and fraudulent

statements in a matter within the jurisdiction of the Executive Branch of the United States, in

violation of 18 U.S.C. § 1001(a)(2).

        3.      As described below, based upon the evidence gathered to date in this ongoing

investigation, I have probable cause to believe, and do in fact believe, that on December 9, 2019,

ZHENG did knowingly and willfully make a series of materially false, fictitious, and fraudulent
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statements to Customs and Border Protection (“CBP”) officials, in violation of 18 U.S.C.

§ 1001(a)(2).

       4.     The information in this affidavit is based upon my training and experience, my

personal knowledge of this investigation, and information conveyed to me by other agents and law

enforcement officials who have assisted in this investigation and have experience investigating

international terrorism matters. Because this affidavit is submitted for the sole purpose of seeking

issuance of a criminal complaint, it does not include every fact known to me concerning the

investigation. Instead, I only have included those facts that I believe are needed to establish the

requisite probable cause to support the criminal complaint.

                                 RELEVANT LEGAL AUTHORITY

       5.       Knowingly and willfully making a materially false statement or representation in

any matter within the jurisdiction of the executive, legislative, or judicial branch of the

Government of the United States violates 18 U.S.C. § 1001. See 18 U.S.C. § 1001(a)(2).

                         FACTS SUPPORTING PROBABLE CAUSE

       6.       On Monday, December 9, 2019, CBP Agriculture Specialists assigned to Boston

Logan International Airport identified ZHENG, a researcher who was scheduled to depart

Boston bound for Beijing, China on Hainan Airlines (HU) flight 482, as a high risk for possibly

exporting undeclared biological material.

       7.       As a result, CBP officers went to the Hainan bag room where they were able to

locate two checked bags in ZHENG’s name. The checked bags were physically examined. The

examination resulted in the discovery of twenty one (21) vials wrapped in a plastic bag and

concealed in a sock. The vials were visually inspected and appeared to contain a brown liquid

with both typed and handwritten descriptions and notes. Based upon my experience and training



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and discussions with agents working on this matter, these vials contained what appeared to be

biological materials that were not properly declared or packaged for transportation in a

commercial aircraft.

        8.       A short time later, CBP officers identified ZHENG and approached him before he

boarded the aircraft . CBP Officers asked ZHENG multiple times if he was traveling with any

biological items or research material in either his carry-on or checked luggage. ZHENG replied

“no.” ZHENG was then removed from the jetway and escorted him to the baggage secondary

area where he acknowledged his ownership of the checked baggage that had previously been

identified as his.

        9.       Once in the secondary area, CBP Officers began their inspection. ZHENG was

asked why he did not declare the vials that were found in his checked luggage and he stated that

“they were not important and had nothing to do with his research.”

        10.      As the interview progressed, ZHENG stated that the vials were given to him by a

friend “Zhang Tao” and ZHENG had no plans to do anything with the vials, but ZHENG could

not explain why he was attempting to leave the United States with the vials concealed in a sock

in his checked bag.

        11.      Shortly thereafter, ZHENG was brought to an interview room where he confessed

that he had stolen eight (8) vials from the research lab at Beth Israel Hospital and that no one else

was aware of this. ZHENG also stated that he personally replicated 11 vials based on Zhang

Tao’s research.

        12.      ZHENG stated that he replicated this research over a two to three month period

while working at the Beth Israel laboratory and that Beth Israel was unaware of this. ZHENG




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stated that his plan was to take the vials to his lab at Sun Yat-Sen Memorial Hospital for further

analysis.

       13.       ZHENG stated that upon his return to China, he was planning to immediately go

to his lab in China and begin working on his research using the stolen vials. ZHENG explained

that if the results of his research were successful in any way that he planned to publish a paper in

his name.

       14.       In ZHENG’s baggage, the CBP Officers also found with a laptop belonging to

another Chinese national,            ZHENG explained that he was leaving the US with this

laptop because       ““could not fit it in his luggage.” A basic search of the device resulted in the

discovery of what appeared to be research material.

       15.       The unknown biological samples have been seized for failure to declare and are

currently being examined to determine their contents.




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                                         CONCLUSION

       16.     Based on the foregoing facts, and on my experience, training and discussions with

other individuals involved in this investigation, I believe there is probable cause to conclude that

ZHENG made false, fictitious and fraudulent statements in a matter within the jurisdiction of the

Executive Branch of the United States in violation of 18 U.S.C. § 1001(a)(2).



                                              __________________________
                                              Kara D. Spice
                                              Special Agent, FBI




       Sworn and subscribed before me this 10th day of December 2019.



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                                              HON. DAVID H. HENNESSY
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